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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                                               CASE NO. 6:00-cr-059-Orl-19JGG

 SALOMON DESRIVIERES,

        Defendant.



                                                ORDER

        This case is before the Court on the Government’s Objection (Doc. No. 410, filed June 9,

 2005) to the Report and Recommendation of the U.S. Magistrate Judge. (Doc. No. 409, filed May

 26, 2005).

        On May 16, 2000, Defendant and several other individuals were charged by first superseding

 indictment (Doc. No. 56) with various crimes. Defendant was charged in counts one, five through

 ten, and fifteen through seventeen. On August 9, 2000, pursuant to a written plea agreement (Doc.

 No. 122), Petitioner entered a plea of guilty to counts one, five, and seven of the first superseding

 indictment before United States Magistrate Judge James G. Glazebrook. See Doc. No. 124.

 Magistrate Judge Glazebrook entered a Report and Recommendation that the guilty plea be accepted

 and that Petitioner be adjudged guilty and have sentence imposed accordingly (Doc. No. 127). The

 district court accepted the plea and adjudicated Petitioner guilty of counts one, five, and seven of the

 first superseding indictment (Doc. No. 128). A sentencing hearing was conducted, and, on December

 20, 2000, the district court entered a Judgment in a Criminal Case, sentencing Petitioner to a 308
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 month term of imprisonment (Doc. No. 243).1 Petitioner did not file a direct appeal of his conviction

 or sentence.

        On December 24, 2003, the Government filed a Rule 35 motion requesting reduction of

 Defendant’s sentence (Doc. No. 373). The Court granted the motion and reduced Defendant’s total

 term of imprisonment to 241 months (Doc. No. 381).

        On March 21, 2005, Defendant filed a motion for leave to proceed on appeal in forma

 pauperis (Doc. No. 406) regarding an appeal of the Judgment in a Criminal Case entered on

 December 20, 2000 (Doc. No. 243). On May 26, 2005, Magistrate Judge James G. Glazebrook

 entered a Report and Recommendation (Doc. No. 409) that the motion for leave to proceed on

 appeal in forma pauperis be granted in part and denied in part. The Government has filed a

 Objection to Report and Recommendation (Doc. No. 410, filed June 9, 2005). By Order dated June

 23, 2005 (Doc. No. 411), Defendant was notified of his opportunity to file within twenty days a

 response to the Government’s Objection. Defendant has not filed a response to the Objection.

        The Court shall make a de novo determination upon the record of any portion of the

 Magistrate Judge's Report and Recommendation to which specific written objection has been made.

 Fed. R. Civ. P. 72(b). After a review of the record, the Court notes that the only matter pending in

 this case is Defendant’s motion for leave to proceed on appeal in forma pauperis. Defendant has not

 filed a notice of appeal regarding either his conviction or the reduction of his sentence. Furthermore,

 the time to appeal both those matters has long since passed. In addition, Defendant has not filed a

 motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255, and the one year




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         Counts six, eight, nine, ten, fifteen, sixteen, and seventeen of the first superseding
 indictment were dismissed on the motion of the United States. See Doc. No. 243.
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 period to file such a motion has also expired. Therefore, Defendant does not presently have any

 proceeding pending that necessitates the filing of a motion to proceed in forma pauperis.2

        In light of the above and the fact that Defendant has not filed a response, the Court finds that

 the Government’s Objection is well-taken. Accordingly, it is

        ORDERED:

        1.      The Report and Recommendation of the Magistrate Judge is ACCEPTED in part

 and REJECTED in part. The Report and Recommendation is ACCEPTED to the extent that it

 denied, in part, Defendant’s motion for leave to proceed on appeal in forma pauperis (Doc. No. 49),

 and it is REJECTED to the extent that it granted, in part, the motion.

        2.      Defendant’s motion for leave to proceed on appeal in forma pauperis (Doc. No. 49)

 is DENIED without prejudice.

        DONE AND ORDERED at Orlando, Florida this               21st    day of July, 2005.




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          The Court also notes that Defendant’s motion indicates an intention to pursue relief in light
 of the recent United States Supreme Court’s decisions in Blakely v. Washington, 124 S. Ct. 2531
 (2004), and United States v. Booker, 125 S. Ct. 738 (2005). However, the Eleventh Circuit Court
 of Appeals has specifically determined that these decision do not apply retroactively to cases on
 collateral review. Varela v. United States, 400 F.3d 864, 868 (11th Cir. 2005) (“[W]e conclude that
 Booker's [and Blakely’s] constitutional rule falls squarely under the category of new rules of criminal
 procedure that do not apply retroactively to § 2255 cases on collateral review.”).

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 Salomon Desrivieres
 Counsel of Record




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